      Case 3:20-cv-02348-B Document 19 Filed 08/11/21                     Page 1 of 2 PageID 574



                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 VALERIA BENITEZ BAUTISTA,                           §
 GUILLERMO GABRIEL NEITO, and                        §
 JAIME ANTONIO FRIAS,                                §
                                                     §
      Plaintiffs,                                    §
                                                     §
 v.                                                  §   CIVIL ACTION NO. 3:20-CV-2348-B
                                                     §
 UR M. JADDOU, in her official capacity              §
 as Director of U.S. Citizenship and                 §
 Immigration Services, and U.S.                      §
 CITIZENSHIP AND IMMIGRATION                         §
 SERVICES,                                           §
                                                     §
      Defendants.                                    §

                                                   ORDER

                    The parties agree that discovery and a trial in this case are not necessary because “the

case should be resolved on cross-motions for summary judgment[.]” Doc. 18, Joint Status Report,

4–5. Accordingly, the Court implements the following briefing schedule:

         (1)        Plaintiffs must file a dispositive motion on or before August 13, 2021.

         (2)        Defendants must file a consolidated cross-dispositive motion and response to

Plaintiffs’ dispositive motion on or before September 3, 2021.

         (3)        Plaintiffs must file a consolidated reply and response to Defendants’ cross-dispositive

motion on or before September 24, 2021.

         (4)        Defendants must file a reply on or before October 8, 2021.

         In addition to the above briefing schedule, the Court ORDERS the parties to file a Joint

Report informing the Court of their choice of an agreed-upon mediator or of their inability to agree

                                                      -1-
   Case 3:20-cv-02348-B Document 19 Filed 08/11/21                 Page 2 of 2 PageID 575



upon a mediator 30 days from the date of this order. In the event the parties are unable to agree on

a mediator, the Court will appoint one for them. At that time, a separate Mediation Order will be

issued, discussing the guidelines and requirements of the mediation. The parties shall mediate their

case by October 17, 2021.



       SO ORDERED.

       SIGNED: August 11, 2021.




                                               -2-
